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                         United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


Anton Ewing

                                                                  Civil No. 18-cv-1063-AJB-AGS
                                                   Plaintiff,
                                            V.
                                                                            DEFAULT
First Premier Funding, LLC, a Delaware
limited liability company

                                                 Defendant.


       It appears from the record in the above entitled action that Summons issued on the Original
Complaint Filed on 05/29/2018 has been regularly served upon each of the Defendants hereinafter
named; and it appears from the affidavit of counsel for Plaintiff and the records herein that each of the
Defendants has failed to plead or otherwise defend in said action as required by said Summons and
provided by the Federal Rules of Civil Procedure. Now, therefore, on request of counsel for Plaintiff,
the DEFAULT of each of the following Defendants is hereby entered: First Premier Funding, LLC, a
Delaware limited liability company.




Entered On:                                                          JOHN MORRILL, Clerk of Court
                                                                By: s/ A. Corsello
                                                                                      A. Corsello, Deputy
